                  Case 20-33948 Document            Filed in TXSB on 07/06/21 Page 1 of 8




                          IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION                                                           ENTERED
                                                                                                                07/06/2021
                                                                )
    In re:                                                      )
                                                                ) Chapter 11
    NEIMAN MARCUS GROUP LTD LLC, et al., 1                      )
                                                                ) Case No. 20-32519 (DRJ)
                      Reorganized Debtors.                      )
                                                                ) (Jointly Administered)
                                                                )

                  ORDER SUSTAINING LIQUIDATING TRUSTEE’S
         NINETEENTH OMNIBUS OBJECTION TO CLAIMS (RESOLVED CLAIMS)
                            (Related Docket No. 2492)

             Upon the Objection2 of the Liquidating Trustee seeking entry of an order (the “Order”)

disallowing and expunging the claims identified on Schedule 1 attached hereto, it is HEREBY

ORDERED THAT:

             1.      The Objection is sustained as set forth herein.

             2.      Each claim identified on Schedule 1 to this Order is (i) disallowed in its entirety or

(ii) reduced and allowed, as set forth in Schedule 1 to this Order.




1
      The Reorganized Debtors in these chapter 11 cases, along with the last four digits of each Reorganized Debtor’s
      federal tax identification number, are: Neiman Marcus Group LTD LLC (9435); Bergdorf Goodman Inc. (5530);
      Bergdorf Graphics, Inc. (9271); BG Productions, Inc. (3650); Mariposa Borrower, Inc. (9015); Mariposa
      Intermediate Holdings LLC (5829); NEMA Beverage Corporation (3412); NEMA Beverage Holding Corporation
      (9264); NEMA Beverage Parent Corporation (9262); NM Bermuda, LLC (2943); NM Financial Services, Inc.
      (2446); NM Nevada Trust (3700); NMG California Salon LLC (9242); NMG Florida Salon LLC (9269); NMG
      Global Mobility, Inc. (0664); NMG Notes PropCo LLC (1102); NMG Salon Holdings LLC (5236); NMG Salons
      LLC (1570); NMG Term Loan PropCo LLC (0786); NMG Texas Salon LLC (0318); NMGP, LLC (1558); The
      Neiman Marcus Group LLC (9509); The NMG Subsidiary LLC (6074); and Worth Avenue Leasing Company
      (5996). The Reorganized Debtors’ service address is: One Marcus Square, 1618 Main Street, Dallas, Texas 75201.
2
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Liquidating
      Trustee’s Nineteenth Omnibus Objection to Claims (Resolved Claims).
             Case 20-33948 Document          Filed in TXSB on 07/06/21 Page 2 of 8




        3.       Bankruptcy Management Solutions, Inc. d/b/a Stretto (“Stretto”) is authorized and

directed to update the claims register maintained in these chapter 11 cases to reflect the relief

granted in this Order.

        4.       Each claim and the objections by the Liquidating Trustee to each claim identified

in Schedule 1 constitutes a separate contested matter as contemplated by Bankruptcy Rule 9014.

This Order will be deemed a separate order with respect to each claim identified on Schedule 1.

        5.       Nothing in this Order affects administrative, secured, or priority amounts in the

claims identified on Schedule 1, and the Reorganized Debtors reserve the right to object to the

administrative, secured, or priority amounts on any basis whatsoever.

        6.       Notwithstanding the relief granted in this Order and any actions taken pursuant to

such relief, nothing in this Order shall be deemed: (a) an admission as to the validity of any

prepetition claim against a Debtor entity or such Debtor entity’s estate; (b) a waiver of any party’s

right to dispute any prepetition claim on any grounds; (c) a promise or requirement to pay any

prepetition claim; (d) an implication or admission that any particular claim is of a type specified

or defined in this Objection or any order granting the relief requested by this Objection; (e) a

request or authorization to assume any prepetition agreement, contract, or lease pursuant to section

365 of the Bankruptcy Code; or (f) a waiver of the Liquidating Trustee’s rights under the

Bankruptcy Code or any other applicable law.

        7.       The terms and conditions of this Order will be immediately effective and

enforceable upon its entry.



                            [Remainder of Page Intentionally Left Blank]




                                                 -2-
DOCS_NY:43190.3 59944/004
             Case 20-33948 Document           Filed in TXSB on 07/06/21 Page 3 of 8




        8.       The Liquidating Trustee, Stretto, and the Clerk of the Court are authorized to take

all actions necessary to effectuate the relief granted pursuant to this Order in accordance with the

Objection.

        9.       This Court shall retain exclusive jurisdiction to resolve any dispute arising from or

related to this Order.


 Date:Signed: July 01, 2021.              , 2021

                                                      THE HONORABLE DAVID R. JONES
                                                     ____________________________________
                                                      CHIEFR.UNITED
                                                     DAVID    JONES STATES BANKRUPTCY
                                                     UNITED
                                                      JUDGESTATES BANKRUPTCY JUDGE




                                                   -3-
DOCS_NY:43190.3 59944/004
Case 20-33948 Document   Filed in TXSB on 07/06/21 Page 4 of 8




                         Schedule 1
                           Case 20-33948 Document                        Filed in TXSB on 07/06/21 Page 5 of 8



             Name of                         Schedule /                                                                                    Reason for
  Ref #                     Debtor Name                   Date Filed            Claim Amounts                   Allowed Claim Amount
             Claimant                         Claim #                                                                                      Objection
                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
                                                                                                                                       the Debtors are not
    1     360I LLC          Marcus Group    2052          7/20/2020    General Unsecured: $347,475.99      General Unsecured: $0.00
                                                                                                                                       liable because the
                            LLC
                                                                                                                                       claim has been
                                                                       Total: $347,475.99                  Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
                                                                                                                                       the Debtors are not
    2     ACCERTIFY, INC    Marcus Group    1859          7/16/2020    General Unsecured: $96,695.27       General Unsecured: $0.00
                                                                                                                                       liable because the
                            LLC
                                                                                                                                       claim has been
                                                                       Total: $96,695.27                   Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                                                                       Priority: $0.00                     Priority: $0.00
                            Neiman Marcus                                                                                              the Debtors are not
    3     ADOBE INC.                        1385          6/24/2020    General Unsecured: $120,256.48      General Unsecured: $0.00
                            Group LTD LLC                                                                                              liable because the
                                                                                                                                       claim has been
                                                                       Total: $120,256.48                  Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                                                                       Priority: $0.00                     Priority: $0.00
                            Neiman Marcus                                                                                              the Debtors are not
    4     ALORICA INC.                      785           5/22/2020    General Unsecured: $748,495.03      General Unsecured: $0.00
                            Group LTD LLC                                                                                              liable because the
                                                                                                                                       claim has been
                                                                       Total: $748,495.03                  Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
          AMAZON WEB                                                                                                                   the Debtors are not
    5                       Marcus Group    2198          7/20/2020    General Unsecured: $988,124.54      General Unsecured: $0.00
          SERVICES, INC.                                                                                                               liable because the
                            LLC
                                                                                                                                       claim has been
                                                                       Total: $988,124.54                  Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
          AMERICAN                                                                                                                     Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
          EXPRESS                                                                                                                      unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
          TRAVEL                                                                                                                       the Debtors are not
    6                       Marcus Group    1626          7/14/2020    General Unsecured: $532.62          General Unsecured: $0.00
          RELATED                                                                                                                      liable because the
                            LLC
          SERVICES CO,                                                                                                                 claim has been
                                                                       Total: $532.62                      Total: $0.00
          INC                                                                                                                          resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
          AVERY                                                                                                                        the Debtors are not
    7                       Marcus Group    219531                     General Unsecured: $50,993.77       General Unsecured: $0.00
          DENNISON                                                                                                                     liable because the
                            LLC
                                                                                                                                       claim has been
                                                                       Total: $50,993.77                   Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
          BARRACUDA                                                                                                                    the Debtors are not
    8                       Marcus Group    1701          7/15/2020    General Unsecured: $128,107.62      General Unsecured: $0.00
          NETWORKS INC.                                                                                                                liable because the
                            LLC
                                                                                                                                       claim has been
                                                                       Total: $128,107.62                  Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                          The Neiman                                   Priority: $0.00                     Priority: $0.00
                                                                                                                                       the Debtors are not
    9     BINARY TREE INC Marcus Group      219626                     General Unsecured: $800.00          General Unsecured: $0.00
                                                                                                                                       liable because the
                          LLC
                                                                                                                                       claim has been
                                                                       Total: $800.00                      Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                            The Neiman                                 Priority: $0.00                     Priority: $0.00
                                                                                                                                       the Debtors are not
   10     CHANEL, INC.      Marcus Group    2245          7/20/2020    General Unsecured: $11,253,513.88   General Unsecured: $0.00
                                                                                                                                       liable because the
                            LLC
                                                                                                                                       claim has been
                                                                       Total: $11,253,513.88               Total: $0.00
                                                                                                                                       resolved

                                                                       Administrative: $0.00               Administrative: $0.00
                                                                                                                                       Expunge general
                                                                       Secured: $0.00                      Secured: $0.00
                                                                                                                                       unsecured amounts as
                                                                       Priority: $0.00                     Priority: $0.00
                            Bergdorf                                                                                                   the Debtors are not
   11     CHANEL, INC.                      2243          7/20/2020    General Unsecured: $3,121,578.36    General Unsecured: $0.00
                            Goodman Inc.                                                                                               liable because the
                                                                                                                                       claim has been
                                                                       Total: $3,121,578.36                Total: $0.00
                                                                                                                                       resolved




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DOCS_NY:43190.3 59944/004
                       Case 20-33948 Document                         Filed in TXSB on 07/06/21 Page 6 of 8



           Name of                        Schedule /                                                                                 Reason for
Ref #                    Debtor Name                   Date Filed            Claim Amounts                Allowed Claim Amount
           Claimant                        Claim #                                                                                   Objection
                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        CHECKPOINT                                                                                                               the Debtors are not
 12                      Marcus Group    219812                     General Unsecured: $1,253.81     General Unsecured: $0.00
        SYSTEMS INC                                                                                                              liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $1,253.81                 Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                      The Neiman                                    Priority: $0.00                  Priority: $0.00
        EQUIFAX CHECK                                                                                                            the Debtors are not
 13                   Marcus Group       220196                     General Unsecured: $23,151.74    General Unsecured: $0.00
        SERVICES LLC                                                                                                             liable because the
                      LLC
                                                                                                                                 claim has been
                                                                    Total: $23,151.74                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                                                                    Priority: $0.00                  Priority: $0.00
                       Neiman Marcus                                                                                             the Debtors are not
 14     EVERGAGE, INC.                   689           5/20/2020    General Unsecured: $246,094.39   General Unsecured: $0.00
                       Group LTD LLC                                                                                             liable because the
                                                                                                                                 claim has been
                                                                    Total: $246,094.39               Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
        FORBES           The Neiman                                 Priority: $0.00                  Priority: $0.00
                                                                                                                                 the Debtors are not
 15     TAUBMAN          Marcus Group    220299                     General Unsecured: $7,500.00     General Unsecured: $0.00
                                                                                                                                 liable because the
        ORLANDO LLC      LLC
                                                                                                                                 claim has been
                                                                    Total: $7,500.00                 Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                      The Neiman                                    Priority: $0.00                  Priority: $0.00
        IPROSPECT.COM                                                                                                            the Debtors are not
 16                   Marcus Group       2296          7/20/2020    General Unsecured: $232,072.08   General Unsecured: $0.00
        , INC.                                                                                                                   liable because the
                      LLC
                                                                                                                                 claim has been
                                                                    Total: $232,072.08               Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        JP MORGAN                                                                                                                the Debtors are not
 17                      Marcus Group    220746                     General Unsecured: $278,383.55   General Unsecured: $0.00
        PCARD                                                                                                                    liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $278,383.55               Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                                                                    Priority: $0.00                  Priority: $0.00
        MATTHEWS         Neiman Marcus                                                                                           the Debtors are not
 18                                      1448          7/1/2020     General Unsecured: $220.00       General Unsecured: $0.00
        INTERNATIONAL    Group LTD LLC                                                                                           liable because the
                                                                                                                                 claim has been
                                                                    Total: $220.00                   Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        NIAGARA                                                                                                                  the Debtors are not
 19                      Marcus Group    221278                     General Unsecured: $36,172.80    General Unsecured: $0.00
        BOTTLING LLC                                                                                                             liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $36,172.80                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
        NICKLAS                                                                                                                  unsecured amounts as
                                                                    Priority: $0.00                  Priority: $0.00
        ASSOCIATES       Neiman Marcus                                                                                           the Debtors are not
 20                                      1392          6/25/2020    General Unsecured: $22,515.97    General Unsecured: $0.00
        D/B/A THE BOSS   Group LTD LLC                                                                                           liable because the
        GROUP                                                                                                                    claim has been
                                                                    Total: $22,515.97                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
        OAKBROOK         The Neiman                                 Priority: $0.00                  Priority: $0.00
                                                                                                                                 the Debtors are not
 21     SHOPPING         Marcus Group    221314                     General Unsecured: $116,895.54   General Unsecured: $0.00
                                                                                                                                 liable because the
        CENTER LLC       LLC
                                                                                                                                 claim has been
                                                                    Total: $116,895.54               Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                                                                    Priority: $0.00                  Priority: $0.00
                         Neiman Marcus                                                                                           the Debtors are not
 22     RYAN, LLC                        2284          7/20/2020    General Unsecured: $84,342.23    General Unsecured: $0.00
                         Group LTD LLC                                                                                           liable because the
                                                                                                                                 claim has been
                                                                    Total: $84,342.23                Total: $0.00
                                                                                                                                 resolved




                                                                             -2-
      DOCS_NY:43190.3 59944/004
                       Case 20-33948 Document                         Filed in TXSB on 07/06/21 Page 7 of 8



           Name of                        Schedule /                                                                                 Reason for
Ref #                    Debtor Name                   Date Filed            Claim Amounts                Allowed Claim Amount
           Claimant                        Claim #                                                                                   Objection
                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        TALX                                                                                                                     the Debtors are not
 23                      Marcus Group    221978                     General Unsecured: $86,033.33    General Unsecured: $0.00
        CORPORATION                                                                                                              liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $86,033.33                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        TALX UC                                                                                                                  the Debtors are not
 24                      Marcus Group    221979                     General Unsecured: $9,909.56     General Unsecured: $0.00
        EXPRESS                                                                                                                  liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $9,909.56                 Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
        TAMPA                                                       Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
        WESTSHORE                                                   Priority: $0.00                  Priority: $0.00
                         Neiman Marcus                                                                                           the Debtors are not
 25     ASSOCIATES                       1767          7/17/2020    General Unsecured: $40,013.16    General Unsecured: $0.00
                         Group LTD LLC                                                                                           liable because the
        LIMITED
                                                                                                                                 claim has been
        PARTNERSHIP                                                 Total: $40,013.16                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $2,771.72        Administrative: $2,771.72
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
        TAUBMAN                                                                                                                  unsecured amounts as
                                                                    Priority: $0.00                  Priority: $0.00
        CHERRY CREEK     Neiman Marcus                                                                                           the Debtors are not
 26                                      1766          7/17/2020    General Unsecured: $279,364.66   General Unsecured: $0.00
        SHOPPING         Group LTD LLC                                                                                           liable because the
        CENTER, L.L.C.                                                                                                           claim has been
                                                                    Total: $282,136.38               Total: $2,771.72
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        THE HOME                                                                                                                 the Debtors are not
 27                      Marcus Group    222043                     General Unsecured: $3,508.95     General Unsecured: $0.00
        DEPOT PRO                                                                                                                liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $3,508.95                 Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        THE IRVINE                                                                                                               the Debtors are not
 28                      Marcus Group    1537          7/8/2020     General Unsecured: $785,753.46   General Unsecured: $0.00
        COMPANY LLC                                                                                                              liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $785,753.46               Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        THE IRVINE                                                                                                               the Debtors are not
 29                      Marcus Group    1539          7/8/2020     General Unsecured: $20,758.08    General Unsecured: $0.00
        COMPANY LLC                                                                                                              liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $20,758.08                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
        THOMSON                                                                                                                  unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        REUTERS TAX &                                                                                                            the Debtors are not
 30                      Marcus Group    222080                     General Unsecured: $708.42       General Unsecured: $0.00
        ACCOUNTING                                                                                                               liable because the
                         LLC
        INC                                                                                                                      claim has been
                                                                    Total: $708.42                   Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                                                                    Priority: $0.00                  Priority: $0.00
        TM WILLOW        Neiman Marcus                                                                                           the Debtors are not
 31                                      2533          7/24/2020    General Unsecured: $27,726.14    General Unsecured: $0.00
        BEND SHOPS LP    Group LTD LLC                                                                                           liable because the
                                                                                                                                 claim has been
                                                                    Total: $27,726.14                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
                                                                                                                                 the Debtors are not
 32     TOPANGA LP       Marcus Group    222108                     General Unsecured: $96,255.22    General Unsecured: $0.00
                                                                                                                                 liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $96,255.22                Total: $0.00
                                                                                                                                 resolved

                                                                    Administrative: $0.00            Administrative: $0.00
                                                                                                                                 Expunge general
                                                                    Secured: $0.00                   Secured: $0.00
                                                                                                                                 unsecured amounts as
                         The Neiman                                 Priority: $0.00                  Priority: $0.00
        TYSONS                                                                                                                   the Debtors are not
 33                      Marcus Group    222161                     General Unsecured: $13,303.32    General Unsecured: $0.00
        GALLERIA LLC                                                                                                             liable because the
                         LLC
                                                                                                                                 claim has been
                                                                    Total: $13,303.32                Total: $0.00
                                                                                                                                 resolved




                                                                             -3-
      DOCS_NY:43190.3 59944/004
                      Case 20-33948 Document                        Filed in TXSB on 07/06/21 Page 8 of 8



           Name of                      Schedule /                                                                                 Reason for
Ref #                   Debtor Name                  Date Filed            Claim Amounts               Allowed Claim Amount
           Claimant                      Claim #                                                                                   Objection
                                                                  Administrative: $0.00           Administrative: $0.00
                                                                                                                               Expunge general
                                                                  Secured: $0.00                  Secured: $0.00
        TYSONS II                                                                                                              unsecured amounts as
                     The Neiman                                   Priority: $0.00                 Priority: $0.00
        PROPERTY                                                                                                               the Debtors are not
 34                  Marcus Group      222162                     General Unsecured: $175.92      General Unsecured: $0.00
        OWNERS ASSOC                                                                                                           liable because the
                     LLC
        INC                                                                                                                    claim has been
                                                                  Total: $175.92                  Total: $0.00
                                                                                                                               resolved

                                                                  Administrative: $0.00           Administrative: $0.00
                                                                                                                               Expunge general
                                                                  Secured: $0.00                  Secured: $0.00
        WESTFIELD                                                                                                              unsecured amounts as
                        The Neiman                                Priority: $0.00                 Priority: $0.00
        GARDEN STATE                                                                                                           the Debtors are not
 35                     Marcus Group   2453          7/20/2020    General Unsecured: $59,638.24   General Unsecured: $0.00
        PLAZA LIMITED                                                                                                          liable because the
                        LLC
        PARTNERSHIP                                                                                                            claim has been
                                                                  Total: $59,638.24               Total: $0.00
                                                                                                                               resolved

                                                                  Administrative: $39,610.11      Administrative: $39,610.11
                                                                                                                               Expunge general
                                                                  Secured: $0.00                  Secured: $0.00
                                                                                                                               unsecured amounts as
        WESTFIELD       The Neiman                                Priority: $0.00                 Priority: $0.00
                                                                                                                               the Debtors are not
 36     TOPANGA         Marcus Group   2451          7/20/2020    General Unsecured: $53,263.84   General Unsecured: $0.00
                                                                                                                               liable because the
        OWNER LLC       LLC
                                                                                                                               claim has been
                                                                  Total: $92,873.95               Total: $39,610.11
                                                                                                                               resolved

                                                                  Administrative: $0.00           Administrative: $0.00
                                                                                                                               Expunge general
                                                                  Secured: $0.00                  Secured: $0.00
        ZEBRA                                                                                                                  unsecured amounts as
                                                                  Priority: $0.00                 Priority: $0.00
        TECHNOLOGIES Neiman Marcus                                                                                             the Debtors are not
 37                                    1179          6/10/2020    General Unsecured: $13,707.54   General Unsecured: $0.00
        INTERNATIONAL, Group LTD LLC                                                                                           liable because the
        LLC.                                                                                                                   claim has been
                                                                  Total: $13,707.54               Total: $0.00
                                                                                                                               resolved




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